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                     IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION OPIATE                    MDL No. 2804
LITIGATION
                                                      Case No. 17-md-2804

                                                      Judge Dan Aaron Polster

This document relates to:

“Track One Cases”



 DISTRIBUTOR DEFENDANTS’ PARTIAL OBJECTIONS TO DISCOVERY RULING
                NUMBER 17 REGARDING SACWIS DATA
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       Pursuant to Federal Rule of Civil Procedure 53(f), AmerisourceBergen Drug Corporation,

McKesson Corporation, and Cardinal Health, Inc. (the “Distributors” or “Defendants”), object in

part to Special Master Cohen’s Discovery Ruling No. 17, ECF No. 1425 (the “Ruling”).

                                        INTRODUCTION

       In issuing Discovery Ruling No. 17, Special Master Cohen improperly limited the scope

of discovery with respect to certain data from the Statewide Automated Child Welfare Information

System (“SACWIS”) and related hard copy case files that are separately maintained by the County

of Cuyahoga, Ohio and the County of Summit, Ohio (collectively “Plaintiffs”). These data and

case files contain highly relevant information related to the substances used and/or abused by

participants of the Cuyahoga County Division of Children and Family Services (“DCFS”) and the

Summit County Department of Children Services (“SCCS”) that is crucial to the preparation of

the Distributors’ defense.

       Specifically, the Special Master improperly ruled that Plaintiffs are each required to

disclose only ten (10) de-identified, hard copy case files, a very small quantity given the hundreds

of millions of dollars in damages sought by Plaintiffs based on, implicitly or explicitly, presumably

thousands of child removals and other interventions purportedly caused by opioid addiction.

Defendants seek production of the file for each case upon which Plaintiffs may reasonably rely—

either directly or indirectly—to prove their claims of damages. Anything less would leave

Defendants severely prejudiced and necessarily frustrate the purpose of discovery.

       In addition, the Special Master improperly ruled that a spreadsheet previously produced by

Cuyahoga County in which it recently self-identified alleged “opioid removals” (i.e., the children

services cases where a child was allegedly removed from the home because of a caregivers’ opioid

use or abuse), was “sufficient,” requiring Summit County to produce a comparable spreadsheet.

This spreadsheet shows only coded fields self-selected by Plaintiffs. Plaintiffs should be required


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to produce a complete SACWIS dataset that includes information regarding any case in which

substance abuse (as defined by the characteristics listed on Ex. 1, at Exhibit 1, at Exhibit G) is

noted. It is only with this information that Defendants will be situated to properly assess any

opinions that will be set forth by Plaintiffs’ experts as to the percentage of cases involving only

opioids or opioids, as opposed to those that involve only other legal or illegal drugs, polysubstance

abuse, or no substance abuse at all.

        In light of the relevancy of the information sought and the fact that Plaintiffs’ “children

services” damages are by far the highest category of damages claimed in this litigation—

comprising more than                     claimed by these two Counties—this discovery is proportional

to the needs of the case and essential to the preparation of the Distributors’ defense. By Plaintiffs’

stonewalling, Defendants have received to date absolutely no documentary discovery whatsoever

concerning the child services cases and interventions that purportedly resulted in hundreds of

millions of dollars in increased costs caused by opioid addiction. The only document produced at

all concerning those cases was a single truncated, self-serving spreadsheet recently created from

Cuyahoga, which it wants to clawback, no such spreadsheet from Summit, and no underlying case

files from either Plaintiff. Plaintiffs cannot reasonably prosecute this huge claim yet deny all

discovery concerning it. The Special Master’s order offered a glimmer of discovery into this claim,

but particularly given the prominence of the claim, the order did not go nearly far enough

                                             BACKGROUND

        On November 2, 2018, Defendants deposed Mr. Christopher Cabot, a Social Program

Administrator at DCFS. It was during this deposition that Defendants first learned of the

significance of the SACWIS.1 Specifically, Mr. Cabot testified that DCFS has used SACWIS


1
        Notably, while Cuyahoga County produced                      in August 2018, the spreadsheet on its face
did not reflect that the data contained in the spreadsheet came from SACWIS, and the production letter that


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since December of 2008, and SACWIS is used to track, in relevant part, the specific types of

substances used and/or abused by DCFS participants. See Ex. 1, Ltr. to Special Master Cohen re

Motion to Compel Summit County and Cuyahoga County to Produce SACWIS Data and

Documents, Jan. 21, 2019, at Exhibit 1, and Exhibit C, at 92:21; 248:13-15. On November 13,

2018, Defendants deposed Ms. Cynthia Weiskittel, Executive Director of DCFS. Ms. Weiskittel

similarly testified regarding DCFS’s use of SACWIS, but further explained that Cuyahoga County

also keeps its own separate, hard copy case files that contain information regarding the history of

the case, including the specific substances used and/or abused by the DCFS participant. See id. at

Exhibit 1, at Exhibit A, at Exhibit 2, at 54:5 – 57:10. Cuyahoga County’s hard copy case files are

a vital supplemental to the SACWIS database, as children services employees do not regularly nor

consistently track participant substance abuse information in SACWIS. See id.; see also id. at

Exhibit 9, at 388:3 – 390:20. Deponents from SCCS subsequently confirmed that SCCS also

records the specific substances used and/or abused by its Summit County participants in SACWIS

and keeps corresponding, hard copy case files. See id. at Exhibit 8, at 134:1 – 137:8.

         In light of the testimony provided by Plaintiffs’ witnesses, Defendants sought production

of data from SACWIS regarding the substances used/and or abused by DCFS and SCCS clients

and the corresponding, County-maintained hard copy case files as responsive to Distributor

Defendants’ Request for Production of Documents number 7.2 In response to Defendants’

requests, Cuyahoga County pointed to a previously produced spreadsheet with data extracted from

SACWIS that


accompanied the spreadsheet did not note that the data came from SACWIS.                                                The
production letter noted only that the spreadsheet came from the Department of Children and Family Services.
2
          Distributor Defendants’ Request for Production of Documents No. 7 seeks “documents and data referring or
relating to Plaintiff expenditures relating to the abuse, use, misuse, prescribing, dispensing, sale, distribution, addiction
to, and/or diversion of Prescription Opioids or the possession, abuse, illegal sale, or addiction to other opioids . . . .”



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                                                                                                Summit County

refused to produce any SACWIS data or case files.

        After extensive briefing and months of meet and confers with Plaintiffs, Special Master

Cohen, and the State of Ohio,3 Special Master Cohen ruled as follows on February 27, 2019:

        Prior production by Cuyahoga County of the spreadsheet
        containing certain Data Fields extracted from the SACWIS data (which data was
        "de-identified," in that it did not reveal the identities of the minors or their
        families) was an appropriate and sufficient production of SACWIS data fields by
        Cuyahoga County. Summit County must produce a similar spreadsheet
        containing the same data fields. Cuyahoga and Summit County must also each
        produce 10 "case files" of defendants' choosing. The counties shall redact from
        those case files any information that would allow identification of the minors who
        are the subject of the files, or their families. The counties' redactions shall be as
        limited as possible while fulfilling this directive. To the extent necessary, the Ohio
        Department of Jobs and Family Services (ODJFS) must coordinate with Cuyahoga
        and Summit Counties and facilitate production of the above-listed SACWIS data
        and materials. The various statutes cited by the parties (including the State of
        Ohio), which contain provisions limiting the release of SACWIS data and
        information, all also contain provisions allowing for release pursuant to Court order
        in appropriate circumstances. This ruling fits within those provisions.

See ECF No. 1425 (emphases added). The Special Master formalized this ruling on March 10,

2019, and noted that, “if any party chooses to object to any aspect of this Ruling, it must do so on

or before 5:00 p.m. EST on March 15, 2019.” Id.; see also Fed. R. Civ. P. 53(f)(2) (“A party may



3
          The State of Ohio objected to the production of data from SACWIS on the grounds that the information
sought was subject to and protected by certain provisions allegedly imposing various confidentiality requirements.
See Ex. 2, Ohio Department of Job and Family Services Response to Defendants Feb. 6, 2019, Letter. Defendants
hereby incorporate by reference the arguments made and facts presented in their briefing on the provisions cited by
the State. See Ex. 3, Ltr. to Special Master Cohen re Disclosure of SACWIS Data, Feb. 6, 2019; see also Ex. 4, Email
from S. Boranian to Special Master Cohen re Motion to Compel Production of SACWIS Data and Individual Case
Files, Feb. 12, 2019. As found by Special Master Cohen, production of SACWIS data and individual case files is
permissible under the relevant state and Federal statutory and regulatory schemes, particularly in light of the
comprehensive Protective Order in this case.


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file objections to—or a motion to adopt or modify—the master's order, report, or recommendations

no later than 21 days after a copy is served, unless the court sets a different time.”).

                                           ARGUMENT

         Defendants respectfully object to the Special Master’s ruling on two grounds. First, the

Court should require that Plaintiffs produce the file for each case upon which Plaintiffs may

reasonably rely—either directly or indirectly—to prove their claims of damages, not simply ten

case files of Defendants’ choosing. Second, the Court should order that both Cuyahoga County

and Summit County produce a spreadsheet containing a complete SACWIS dataset that includes

information related to any case in which substance abuse is noted,

                                                                                  .

I.       THE COURT SHOULD ORDER THAT PLAINTIFFS PRODUCE THE FILE FOR
         EACH CASE UPON WHICH PLAINTIFFS MAY REASONABLY RELY TO
         SUPPORT THEIR CLAIMS OF DAMAGES.

         A.     The Case Files Are Directly Relevant to Plaintiffs’ Claims.

         Plaintiffs claim that an increasing number of children in Cuyahoga County and Summit

County have been removed from their families and put in to foster care or other out-of-home

placement because of their caregivers’ use of opioids. Plaintiffs maintain these “opioid removals”

have caused a significant rise in costs, which have been borne by the respective children services

departments and, in turn, the Counties. In order to evaluate the legitimacy of Plaintiffs’ assertions

and claims of damages, Defendants require the file for each case Plaintiffs claim involved an

“opioid removal.”     As noted above, these files contain information regarding the specific

circumstances of the client and case, particularly the specific substance or substances used and/or

abused by DCFS and SCCS participants. These files are therefore necessary to determine whether

those cases claimed to be “opioid removals” truly involved opioids and, if so, whether those

opioids in fact caused or contributed to the removal of the child in any way.


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        In response to this argument, Cuyahoga County has repeatedly asserted that it




                                    But Cuyahoga County’s attempt to create a distinction between

individual case files and “aggregate data” is an end run around its discovery obligations. Any

“aggregate data” would necessarily be derived from the individual case files. There is simply

no meaningful difference. Cuyahoga County cannot avoid production of the individual case files

by merely refraining from identifying the specific cases that unequivocally form the basis of their

“aggregate data” and, in turn, their claim for damages.4

        B.       Production of De-Identified Case Files Is Essential to Defendants’ Ability to
                 Adequately Prepare Their Defense and Proportional to the Needs of This
                 Case.

        Cuyahoga County claims                           in children services damages between 2006 and

2017, and Summit County claims                           in children services damages between 2006 and

2017.                                                                                                    These

figures represent by                                        damages claimed by both Cuyahoga County

and Summit County and do not even take into consideration Plaintiffs’ alleged future damages,

which the Counties have not specifically allocated among the categories of damages claimed but

assert amount to                   in total for Summit County and                      in total for Cuyahoga



4
        Special Master Cohen similarly ruled in connection with a discovery dispute related to the deposition of
David Merriman, Assistant Director of the Cuyahoga County Department of Health and Human Services. Subsequent
to Mr. Merriman’s deposition, Cuyahoga County asserted that Mr. Merriman




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County. Without the case files, Defendants will have no way to properly evaluate and defend

against these significant claims for damages.

         Specifically, the County-maintained case files are the most reliable and comprehensive

source of information available to Defendants concerning the substance used and/or abused by the

client(s) involved in the cases Plaintiffs’ have identified as “opioid removals.” Ex. 1, at Exhibit

1, at Exhibit A, at Exhibit 2, at 54:5 – 57:10; see also id. at Exhibit 9, at 388:3 – 390:20; id. at

Exhibit 1, and Exhibit C, at 98:11-23; id. at Exhibit 8, at 134:1 – 137:8; Ex. 2, at 3 (“[T]here is a

lack of state-wide requirements on what, if any, opioid-related data [is] entered [into SACWIS,

how it [is] entered, and where in SACWIS it [is] entered . . . .”). The only other marginally

comparable source of information is the actual spreadsheet Defendants received from Cuyahoga

County

                                                                However, based on the information

available in the spreadsheet, Defendants do not know how Cuyahoga County

                                     and Defendants do not know from what field in SACWIS

Cuyahoga County                                                 As explained by the State, there are

numerous places in SACWIS where a caseworker could document the presence of opioids in a

case but which would not necessarily lend to the conclusion that opioids were the reason for

removal:

         While the individual case notes [in SACWIS] may reflect a specific reason
         necessitating removal of a child or other intervention (for example, neglect) and an
         underlying cause of that reason (for example, alcohol abuse), those notes are
         created based on all work done during a case. SACWIS contains hundreds of data
         fields for each case through multiple sub-categories, drop-down menus, and
         narrative fields . . . . This presents many opportunities for ‘drugs’ and related terms
         to be mentioned without actually being relevant to any county action. For example,
         if, during the intake of an allegation of neglect, the reporter claims that the mother
         is abusing opioids, that allegation will likely be in the case notes. That does not,




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       however, mean that the child was removed because of opioids, or even that opioids
       are actually being abused.
Ex. 2, at 2-3. And Defendants have in fact identified certain inconsistencies in the spreadsheet




Absent information from the case files, Defendants will be improperly forced to take Plaintiffs’

conclusions (or forthcoming conclusions, for Summit County) a

                         and deprived the opportunity to meaningfully challenge those conclusions.

        Moreover, as argued below, this spreadsheet contains only data fields self-selected by

Cuyahoga County, and is thus incomplete because it does not provide any additional information

on whether there were other substances at issue in these cases, or any other alternative causes for

removal for that matter. The only characteristics information provided is the                   , but

numerous other factors must be taken into account to determine whether the actual reason for

removal was opioid use, including, for example, whether the caregiver also used another legal or

illegal substance. This information is material to a causation analysis, and access to the case files

is the only way to obtain all of the necessary facts.

       While Defendants recognize the time and effort it would take to collect and redact these

case files, this inconvenience is unequivocally proportional in light of the hundreds of millions of

dollars’ in damages claimed, the relevancy of the case files, the lack of more reliable and

comprehensive alternative sources, and the importance of the information contained in the case

files to the Distributors’ defense.




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       C.      Production of Only Ten De-Identified Case Files is Entirely Inadequate in
               Light of the Volume of Case Files at Issue.

       Despite Defendants repeated requests, Plaintiffs have refused to define the universe of

cases that comprise their claims of damages. It goes without saying that Defendants require this

information to appropriately calculate the percentage of cases alleged to involve only opioids or

opiates, as opposed to other cases involving other legal or illegal drugs or no substance abuse at

all. Nevertheless, Cuyahoga County’s spreadsheet

                                                                                     While Summit

County has not provided a similar spreadsheet, the fact that it claims                   in children

services damages demonstrates the number of cases that form the basis of its claim for damages

must likewise be significant. A sample of ten case files from a universe of thousands is not

representative and cannot provide Defendants with the information needed to properly evaluate

the reliability of Plaintiffs’ claims for damages. Anything less than the full universe of case files

will leave Defendants with substantial gaps in their defense that will cause severe, undue prejudice.

II.    THE COURT SHOULD REQUIRE THAT EACH PLAINTIFF PRODUCE A
       SPREADSHEET THAT CONTAINS A COMPLETE SACWIS DATASET TO
       INCLUDE INFORMATION REGARDING ANY CASE IN WHICH SUBSTANCE
       ABUSE IS NOTED.

       The Special Master ruled that Cuyahoga County’s spreadsheet “containing certain Data

Fields extracted from the SACWIS data . . . was an appropriate and sufficient production of

SACWIS data fields by Cuyahoga County.” ECF No. 1425. He additionally held that “Summit

County must produce a similar spreadsheet containing the same data fields.” Id. Defendants

submit that the data from Cuyahoga County’s spreadsheet is far from “sufficient” and, in fact, is

entirely inadequate.

       Cuyahoga County has confirmed that it intends to rely on

                                                                                 Defendants cannot


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logically test the sufficiency of the aggregate data without access to the aggregate data, particularly

the SACWIS data related to all cases involving substance abuse. For example, Plaintiffs’

witnesses have repeatedly testified that data analyses of client substance abuse performed by

children services department employees consistently conflate and/or improperly group together

opioids, opiates, and other substances. See Ex. 1, at 4. This means that any damages calculation

that takes these assessments into consideration would likewise improperly conflate and/or

improperly group together opioids, opiates, and other substances. The only way for Defendants to

identify these scenarios would be to have the information from SACWIS regarding all cases

involving substance abuse, not just information related to what Plaintiffs’ have identified as

                     In other words, Defendants’ expert witnesses must have access to the entire

universe of data related to children services cases involving substance abuse from which to draw

their conclusions in order to render meaningful opinions regarding the percentage of cases alleged

to involve opioids or opiates and the overarching impact of those cases on the respective children

services departments.

       Ultimately, Cuyahoga County’s spreadsheet merely provides cherry-picked information

relevant to its own case.




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                                                                  This gamesmanship necessarily

frustrates the purpose of discovery and greatly prejudices Defendants. See Fed. R. Civ. P. 26

advisory committee’s note to 1946 amendment (“The purpose of discovery is to allow a broad

search for facts, the names of witnesses, or any other matters which may aid a party in the

preparation of the presentation of his case.”); see also id., advisory committee’s note to 1983

amendment (“The purpose of discovery is to provide a mechanism for making relevant information

available to the litigants. ‘Mutual knowledge of all the relevant facts gathered by both parties is

essential to proper litigation.’” (quoting Hickman v. Taylor, 329 U.S. 495, 507 (1947)). It should

not be permitted.

         Again, in light of the substantial children services damages claimed by Plaintiffs in this

litigation and the relevancy of this data, Defendants request is proportional and reasonable.

                                         CONCLUSION

         If Plaintiffs agree to abandon their claims for children services damages, then Defendants

will withdraw their request for SACWIS data and case files. Absent such agreement, Defendants

respectfully request that this Court order (1) Plaintiffs produce the hard copy files that correspond

to each of the cases upon which Plaintiffs will reasonably rely—either directly or indirectly—to

support their claim for damages; and (2) Plaintiffs each produce a spreadsheet that contains a

complete SACWIS dataset to include information regarding any case in which substance abuse is

noted.    In light of the impending expert disclosure deadlines and late stage of discovery,

Defendants respectfully request that this Court impose an expedited schedule for the

aforementioned production.




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DATED: March 15, 2019                Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 15, 2019, I caused the foregoing document to be served via

the Court’s ECF system to all counsel of record.



                                                   /s/ Shannon E. McClure
                                                   Shannon E. McClure
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